     Case: 25-50130   Document: 98-1    Page: 1   Date Filed: 06/27/2025




                           No. 25-50130
__________________________________________________________________

          IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
__________________________________________________________________

  THE LUTHERAN CHURCH–MISSOURI SYNOD, A MISSOURI NONPROFIT
                      CORPORATION,
                    Plaintiff-Appellant,

                                   v.

            DONALD CHRISTIAN; CHRISTOPHER BANNWOLF;
                         JOHN DOES 1-12;
            CONCORDIA UNIVERSITY TEXAS INCORPORATED,
                       Defendants-Appellees.
__________________________________________________________________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION
                             1:23-CV-1042
__________________________________________________________________

                     BRIEF OF APPELLEES
__________________________________________________________________

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      Case: 25-50130   Document: 98-1    Page: 2   Date Filed: 06/27/2025




            CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of 5th Cir. R.

28.2.1 have an interest in the outcome of this case. These representations

are made in order that the judges of this Court may evaluate possible

disqualification or recusal.

Parties/Entities                        Trial & Appellate Counsel

Plaintiff-Appellant                     Daniel H. Blomberg,
The Lutheran Church–Missouri            Andrea R. Butler
Synod, a Missouri nonprofit             Robert K. Ellis
corporation                             THE BECKET FUND FOR RELIGIOUS
                                        LIBERTY

                                        Wallace B. Jefferson
                                        Kevin H. DuBose
                                        ALEXANDER DUBOSE & JEFFERSON,
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Real Plaintiff in Interest              Daniel H. Blomberg
The Lutheran Church–Missouri            Andrea R. Butler
Synod, an unincorporated                Robert K. Ellis


                                    ii
     Case: 25-50130   Document: 98-1     Page: 3   Date Filed: 06/27/2025




Parties/Entities                       Trial & Appellate Counsel

association of Lutheran                THE BECKET FUND FOR RELIGIOUS
congregations                          LIBERTY

                                       Wallace B. Jefferson
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Defendants-Appellees                   Daniel R. Richards
Donald Christian                       Clark Richards
Christoper Bannwolf                    Albert A. Carrion, Jr.
Concordia University Texas             RICHARDS RODRIGUEZ & SKEITH,
Incorporated                           LLP

                                       Renea Hicks
                                       LAW OFFICE OF MAX RENEA HICKS

Defendants                         No counsel
John Does 1-12 (“unknown
individuals” presently or formerly
on the Concordia University
Texas, Inc., Board of Regents)




                                   iii
     Case: 25-50130   Document: 98-1    Page: 4   Date Filed: 06/27/2025




Other Interested Parties               Counsel for Interested Parties

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                                       Cutler Pickering Hale and Dorr,
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International                          Strawn, L.L.P., Dallas, TX
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                                       Washington, DC and
                                       Brandon Winchel of Jones Day,
                                       Irvine, CA and
                                       Kurt Johnson of Jones Day,
                                       Detroit, MI
Texas Catholic Conference of           Matthew Martens of Wilmer
Bishops                                Cutler Pickering Hale and Dorr,
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                                 /s/ Daniel R. Richards
                                 Daniel R. Richards
                                 Counsel of Record for Defendants-
                                 Appellees
                                   iv
      Case: 25-50130   Document: 98-1   Page: 5   Date Filed: 06/27/2025




          STATEMENT REGARDING ORAL ARGUMENT

     LCMS chose to initiate suit on state law claims in a federal forum,

then invoked the church autonomy doctrine to try to bar the district court

from exercising its duty to determine whether it had jurisdiction to

adjudicate those claims. Oral argument would aid closer evaluation of

this unprecedented use of the doctrine.




                                    v
         Case: 25-50130          Document: 98-1          Page: 6     Date Filed: 06/27/2025




                                  TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS ........................................ii
STATEMENT REGARDING ORAL ARGUMENT .................................. v
TABLE OF CONTENTS .......................................................................... vi
INDEX OF AUTHORITIES ...................................................................viii
INTRODUCTION ...................................................................................... 1
STATEMENT OF JURISDICTION .......................................................... 3
ISSUES PRESENTED .............................................................................. 3
STATEMENT OF THE CASE .................................................................. 4
   I. Facts of the Case .............................................................................. 4
       A. Entities in The Dispute .............................................................. 4
       B. Concordia’s November 2022 Actions ........................................ 12
       C. Synod’s Response ...................................................................... 14
   II. Course of Proceedings in the District Court .................................. 16
       A. Proceedings ............................................................................... 16
       B. Disposition in the District Court .............................................. 19
SUMMARY OF THE ARGUMENT ........................................................ 23
STANDARDS OF REVIEW .................................................................... 28
ARGUMENT ........................................................................................... 29
   I. The Church Autonomy Doctrine Does Not Bar the Determination
      that the Synod is the Real Party to the Controversy. ................... 31
       A. The Church Autonomy Doctrine Does Not Absolve LCMS of
          Shouldering the Burden of Establishing Diversity Jurisdiction,
          Nor Does it Strip Federal Courts of the Obligation to
          Determine Whether They Have Jurisdiction. .......................... 31
       B. The District Court’s Inquiry Into Its Jurisdiction Did Not
          Intrude on Church Autonomy. ................................................. 37
   II. The Synod is an Unincorporated Association with Texas
       Citizenship...................................................................................... 42
       A. Precedent Establishes that Churches are Unincorporated
          Associations Under Texas Law. ............................................... 43
                                                    vi
        Case: 25-50130          Document: 98-1           Page: 7      Date Filed: 06/27/2025




       B. The Synod and LCMS are Not One and The Same, and The
          Synod is Not Incorporated. ....................................................... 45
       C. LCMS’s Effort to Buttress its Erroneous Argument that the
          Synod is Not An Unincorporated Association is Unavailing. .. 48
            1.    The Doctrine of Constitutional Avoidance is Inapplicable
                  Here. .................................................................................. 48
            2.    The Texas Religious Freedom Restoration Act Says
                  Nothing About Proper Interpretation of the
                  Unincorporated Association Act. ....................................... 50
            3.    The “Internal Affairs Doctrine” Is Inapplicable. .............. 51
   III. LCMS’s Rule 19 Argument Is Irrelevant. ...................................... 53
CONCLUSION ........................................................................................ 55
CERTIFICATE OF SERVICE................................................................. 56
CERTIFICATE OF COMPLIANCE ........................................................ 57




                                                   vii
         Case: 25-50130           Document: 98-1             Page: 8     Date Filed: 06/27/2025




                                 INDEX OF AUTHORITIES

Cases

Airlines Reporting Corp. v. S and L Travel, Inc.,
      58 F.3d 857 (2d Cir. 1995) .......................................................................30

Arena v. Graybar Elec. Co.,
     669 F.3d 214 (5th Cir. 2012) ...................................................................29

Askanase v. Fatjo,
    130 F.3d 657 (5th Cir. 1997) ...................................................................52

Carden v. Arkoma Assocs.,
    494 U.S. 185 (1978) ............................................................................ 29, 30

Catholic Church v. Tobbein,
     82 Mo. 418 (1884) ......................................................................................48

Cf. Employment Div’n, Dept. of Human Resources of Oregon v. Smith,
     494 U.S. 872 (1990) ...................................................................................34

City of Indianapolis v. Chase Nat’l Bank of City of New York,
      314 U.S. 63 (1941) .....................................................................................33

Cole v. Gen’l Motors Corp.,
      484 F.3d 717 (5th Cir. 2007) ...................................................................28

Corfield v. Dallas Glen Hills LP,
      355 F.3d 853 (5th Cir. 2003) ...................................................................29

Douglass v. United Servs. Auto. Ass'n,
    79 F.3d 1415 (5th Cir. 1996) ............................................................ 28, 54

Edgar v. MITE Corp.,
    457 U.S. 624 (1982) ...................................................................................52

Elliott v. Tilton,
      62 F.3d 725 (5th Cir. 1995) .....................................................................43

Episcopal Diocese of Fort Worth v. Episcopal Church,
     602 S.W.3d 417 (Tex. 2020) .....................................................................43

                                                      viii
         Case: 25-50130           Document: 98-1           Page: 9      Date Filed: 06/27/2025




Evangelical Synod of Mo., Ohio & Other States v. Hoehn,
    196 S.W.2d 134 (Mo. 1946) ......................................................................47

Ex parte McCardle,
     74 U.S. (7 Wall.) 506 (1868) ....................................................................31

Fortune Production Co. v. Conoco, Inc.,
     52 S.W.3d 671 (Tex. 2000) .......................................................................18

Frye v. Anadarko Petro. Corp.,
     953 F.3d 285 (5th Cir. 2019) ...................................................................17

Gen’l Elec. Cap. Corp. v. Posey,
      415 F.3d 391 (5th Cir. 2005) .....................................................................4

Great Southern Fire Proof Hotel Co. v. Jones,
     177 U.S. 449 (1900) ...................................................................................33

Grynberg v. Grynberg,
    535 S.W.3d 229 (Tex.App.—Dallas 2017, no pet.) .............................52

Harrell & Sumner Contracting Co. v. Peabody Peterson Co.,
     546 F.2d 1227 (5th Cir. 1977) .................................................................55

Hollingsworth v. Perry,
     570 U.S. 693 (2013) ...................................................................................22

Hummel v. Townsend,
   883 F.2d 367 (5th Cir. 1989) ...................................................... 26, 32, 43

In re Lubbock,
      624 S.W.3d 506 (Tex. 2021) .....................................................................39

Jones v. Wolf,
     443 U.S. 594 (1979) ............................................................................ 39, 40

Kedroff v. Saint Nicholas Cathedral of Russian Orthodox Church,
     344 U.S. 94 (1952) .....................................................................................37

Krier-Hawthorne v. Beame,
     728 F.2d 658 (4th Cir. 1984) ...................................................................30


                                                      ix
        Case: 25-50130           Document: 98-1           Page: 10      Date Filed: 06/27/2025




Lapides v. Bd. of Regents of the University System of Georgia,
     535 U.S. 613 (2002) ...................................................................................35

Lehigh Mining and Mfg. Co. v. Kelly,
     160 U.S. 327 (1895) ...................................................................................29

Lilly v. Tobbein,
      103 Mo. 477, 15 S.W. 618 (1890) ............................................................48

Lowrey v. Texas A&M Univ. System,
    117 F.3d 242 (5th Cir. 1997) ...................................................................20

Magallon v. Livingston,
    453 F.3d 268 (5th Cir.) .............................................................................28

Maryland and Virginia Eldership of the Churches of God v. Church of
    God at Sharpsburg Church, Inc.,
    396 U.S. 367 (1970) (per curiam) ...........................................................40

Masterson v. Diocese of Nw. Texas,
     422 S.W.3d 594 (Tex. 2013) .....................................................................39

McKee v. Kansas City Southern Ry. Co.,
    358 F.3d 329 (5th Cir. 2004) ...................................................................28

McRaney v. North American Mission Bd. of the Southern Baptist
    Convention, Inc.,
    966 F.3d 346 (5th Cir. 2020) ...................................................................35

Mississippi ex rel. Hood v. AU Optronics Corp.,
     571 U.S. 161 (2014) ...................................................................................33

Murchison Capital Ptnrs., L.P. v. Nuance Communications, Inc.,
    625 Fed.Appx. 617 (5th Cir. 2015).........................................................10

Navarro Savings Ass’n v. Lee,
    446 U.S. 458 (1980) ............................................................................ 29, 30

O’Connell v. United States Conference of Catholic Bishops,
     134 F.4th 1243 (D.C. Cir. 2025) .............................................................32


                                                      x
        Case: 25-50130            Document: 98-1           Page: 11       Date Filed: 06/27/2025




Okpalobi v. Foster,
    244 F.3d 405 (5th Cir. 2001) (en banc) .................................................17

Oscar Gruss & Son, Inc. v. Hollander,
     337 F.3d 186 (2d Cir. 2003) .....................................................................30

Our Lady of Guadalupé School v. Morrissey-Berru,
     591 U.S. 732 (2020) ........................................................................... passim

Presbyterian Church in the United States v. Mary Elizabeth Blue Hull
     Memorial Presbyterian Church,
     393 U.S. 440 (1969) ...................................................................................34

Prete v. Bradbury,
      438 F.3d 949 (9th Cir. 2006) ...................................................................28

S. Methodist Univ. v. S. Cent. Jurisdictional Conference of the United
     Methodist Church,
     No. 23-0703, slip op. (Tex. June 27, 2025) ...........................................36

Sanders v. Univ. of Texas Pan American,
    776 Fed.Appx. 835 (5th Cir. 2019).........................................................16

Serbian E. Orthodox Diocese v. Milivojevich,
     426 U.S. 696 (1976) ...................................................................................38

Soc’y of Helpers of Holy Souls v. Law,
      186 S.W. 718 (Mo. 1916) ................................................................... 47, 48

Steel Co. v. Citizens for a Better Environment,
      523 U.S. 83 (1998) .....................................................................................34

Strawbridge v. Curtiss,
     7 U.S. (3 Cranch) 267 (1806) ...................................................................29

Thomson v. Gaskill,
    315 U.S. 442 (1942) ...................................................................................29

United States v. Albertini,
     472 U.S. 675 (1985) ...................................................................................49


                                                      xi
         Case: 25-50130             Document: 98-1             Page: 12       Date Filed: 06/27/2025




Utica Lloyd’s of Texas v. Mitchell,
     138 F.3d 208 (5th Cir. 1998) ...................................................................17

Wolff v. Wolff,
      768 F.2d 642 (5th Cir. 1985) ...................................................................30

Yacubian v. United States,
    750 F.3d 100 (1st Cir. 2014) ......................................................................4

Statutes

28 U.S.C. § 1291 .....................................................................................................3

28 U.S.C. § 1332 .................................................................................. 3, 17, 29, 33

28 U.S.C. § 1447 ...................................................................................................53

Tex. Bus. Org. Code § 1.102 ..............................................................................52

Tex. Bus. Org. Code § 252.001 ................................................................... 45, 49

Tex. Bus. Org. Code § 252.004 ..........................................................................45

Tex. Bus. Org. Code § 252.007 ..........................................................................45

Tex. Civ. Prac. & Rem. Code § 110.001 ..........................................................51

Tex. Civ. Prac. & Rem. Code § 110.002 ..........................................................50

Tex. Civ. Prac. & Rem. Code § 110.003 ..........................................................50

Tex. Civ. Prac. & Rem. Code § 110.0031 ........................................................50

Tex. Civ. Prac. & Rem. Code § 110.004 ..........................................................51

Other Authorities

6A Wright & Miller,
    Fed. Prac. & Proc. § 1556 (3d ed.)..........................................................30




                                                         xii
        Case: 25-50130            Document: 98-1             Page: 13     Date Filed: 06/27/2025




Rules

Fed. R. Civ. P. 17 .............................................................................. 27, 30, 53, 54

Fed. R. Civ. P. 19 .............................................................................. 27, 53, 54, 55




                                                      xiii
     Case: 25-50130   Document: 98-1       Page: 14   Date Filed: 06/27/2025



                          INTRODUCTION

     This appeal does not present the constitutional drama sketched by

the appellant’s and amici’s briefs of a federal court delving into church

doctrine to decide the merits of an internal church dispute. Rather, this

appeal is about something narrower and quite different: whether the

court below correctly decided that jurisdictional limits on its authority

meant that the merits of the dispute could not be adjudicated in federal

court.

     Concordia University Texas, Inc. (“Concordia”) chose to alter its

relation to the Lutheran Church—Missouri Synod (“Synod”) by

remaining aligned in faith but separated from its governance. Synod

reacted by making an internal ecclesiastical decision that, whatever

Concordia thought, Synod retained control of Concordia and its campus.

Synod called for Concordia to succumb.

     When Concordia did not capitulate, a corporation created by Synod,

the Lutheran Church Missouri—Synod, a Missouri nonprofit corporation

(“LCMS”), sued Concordia in federal court, asking it to enforce Synod’s

internal decision and force Concordia to return to Synod control. Synod

did not join as a party, instead waiting in the wings for LCMS’s lawsuit

to return control of Concordia to Synod.

                                       1
     Case: 25-50130   Document: 98-1       Page: 15   Date Filed: 06/27/2025



     Even though Synod chose, through LCMS, to bring what it claimed

to be an internal church dispute into civil court, and even though Synod

sought a judicial affirmation that Synod’s internal decision was binding,

Synod and LCMS objected when the court said it lacked jurisdiction

because Synod is the real party in interest, which destroyed diversity.

This jurisdictional holding, LCMS says, unconstitutionally intrudes on

church autonomy.

     Accepting LCMS’s argument would turn the church autonomy

doctrine inside out. Instead of being a principle that, when applicable,

prevents courts from deciding the merits of ecclesiastical disputes, it

would become a forum-shopping tool to force jurisdiction on federal courts

they do not otherwise have. Synod and LCMS deliberately chose the

federal forum instead of a Texas state court which undoubtedly has

subject matter jurisdiction. But Synod’s choice does not constitute a right

to force a federal court to disregard the constitutional limits of its

jurisdiction. Furthermore, the church autonomy doctrine does not

preclude the jurisdictional inquiry federal courts are duty-bound to

conduct.




                                       2
     Case: 25-50130   Document: 98-1       Page: 16   Date Filed: 06/27/2025



                 STATEMENT OF JURISDICTION

     The district court lacked subject matter jurisdiction. LCMS’s

lawsuit against the Concordia defendants claimed only violations of

Texas law. Jurisdiction was based on 28 U.S.C. § 1332(a)(1). ROA.1234

(¶6). The magistrate judge concluded that the district court lacked

jurisdiction because: (a) the Synod was the real party in interest and a

necessary party; and (b) joining the Synod as plaintiff would destroy

complete diversity and deprive the court of subject matter jurisdiction.

ROA.3086-3089, 3098.

     The district court adopted the magistrate judge’s report and

recommendation and dismissed LCMS’s suit without prejudice.

ROA.3321.

     LCMS timely appealed the dismissal order. ROA.3322. This Court

has appellate jurisdiction under 28 U.S.C. § 1291 to decide the

jurisdictional issues presented.

                        ISSUES PRESENTED

     Did the district court have subject-matter jurisdiction under 28

U.S.C. § 1332(a)(1) over Synod’s suit, by LCMS, claiming Concordia’s

campus property?



                                       3
         Case: 25-50130    Document: 98-1       Page: 17   Date Filed: 06/27/2025



                          STATEMENT OF THE CASE

         This appeal asks whether the district court had diversity

jurisdiction over a lawsuit arising from a dispute between Synod and

Concordia over control of the university and its campus. 1

    I.   Facts of the Case

         In November 2022, Concordia’s board of regents took formal action

that altered the governance relationship between the university and

Synod. ROA.1542-1558. Synod—not LCMS—opposed these actions and,

in August 2023, adopted “in convention” a resolution finding Concordia’s

actions to be null and void and asking Concordia to relent. ROA.1614-

1616. The merits of the underlying dispute turn on the propriety of the

actions taken by the Concordia defendants and the rights, if any, Synod

has in Concordia’s property. ROA.1254-1256.

         A. Entities in The Dispute

         On one side is Concordia, one of six Synod counts as “Synod

universities.” ROA.1238 (¶19). Concordia was originally established as




1 In the district court, Concordia is sometimes referred to as “CTX.” Except as
otherwise indicated, the facts here are from the live complaint, its exhibits, and
documents they reference. The exhibits sometimes contradict the complaint’s
allegations, and exhibits control over allegations. Yacubian v. United States, 750 F.3d
100, 108 (1st Cir. 2014); Gen’l Elec. Cap. Corp. v. Posey, 415 F.3d 391, 398 n.8 (5th
Cir. 2005). The facts are from the exhibits when there is such a contradiction.

                                            4
      Case: 25-50130   Document: 98-1       Page: 18   Date Filed: 06/27/2025



The Lutheran Concordia College of Texas a century ago in Austin, Texas,

ROA.1241 (¶¶22-23). In 1950, it was incorporated as a Texas nonprofit

educational institution. ROA.1823-1824. Over time, and after several

name changes, the university has come to be known as Concordia

University Texas. ROA.1240 (¶23).

     Concordia is a Christian university grounded in, and aligned with,

the Confession of the Lutheran church. It is guided by Christian

principles and Synod practices, and its aim is to enhance the spiritual life

of students with Synod doctrines. ROA.1530, 1540. Concordia:

     •   subscribes to the confessions of the Synod as unalterable;

     • unreservedly accepts the biblical scriptures “as the written
       Word of God and the only rule and norm of faith and of practice;”
       and

     • considers the Symbolical Books of the Evangelical Lutheran
       Church to be true and an “exposition of the Word of God.”

ROA.1550.

     On the other side are two entities. They are not, as LCMS claims,

effectively a single entity. LCMS Br. 36-37. Instead, one (LCMS) was

“formed by” Synod and is the named plaintiff. ROA.1276; ROA.3308. The

other is the Synod, which holds the purported substantive rights in

dispute. ROA. 3315-3318.


                                        5
     Case: 25-50130   Document: 98-1       Page: 19   Date Filed: 06/27/2025



     LCMS is the plaintiff in whose name the case is formally being

pursued. LCMS is an adjunct of Synod, not the Synod itself. It is a “civil

law corporation formed by the ecclesiastical denomination, the Synod.”

ROA.1237; see also ROA.1234 n.1 (LCMS is a “civil law entity

incorporated by the Synod”).

     The Synod convention is LCMS’s “ultimate authority.” ROA.1237

(¶15 n.6). The Synod constitution authorized LCMS’s creation by the

Synod to “purchase, hold, administer, and sell property … in the interest

of the Synod.” ROA.1271 (Art. IV.1) (emphasis added). It is not “an agency

of the Synod.” Rather, it is a “Missouri nonprofit corporation,”

denominated as “Corporate Synod,” and designed by the Synod to carry

out Synod business, property, and civil law functions. ROA.1829 (§

1.2.1(f)); ROA.1234 (¶8 & n.1).

     The second entity in opposition to Concordia is Synod. It asserts

ownership of the property in dispute and, the court below found, is the

real party in interest in this case. The Synod is the church itself, self-

described as an “association of self-governing congregations.” ROA.1830

(§ 1.2.1(v)). It is a Christian religious denomination with nearly 6,000

voting-member congregations, along with Lutheran ministers and

teachers, all working together to achieve “commonly adopted objectives.”
                                       6
       Case: 25-50130   Document: 98-1       Page: 20   Date Filed: 06/27/2025



ROA.2011-2012 (Art. V); ROA.1235 (¶9); ROA.1828 (§ 1.1.1); ROA.1830

(§ 1.2.1(v)); ROA.1271-1272 (Art. V). Synod congregations are divided

into geographical districts, at least one of which is in Texas. ROA.2016

(Art. XII.1); ROA.1438 (§ 3.12.3.2); ROA.1248 (¶36), 1251 (¶19), 1256 (¶

55).

       The Synod claims ownership of Concordia property through the

Synod’s governing documents. The Synod, not LCMS, is the church-

designated owner of all properties of all Synod agencies, which, the Synod

says, includes Concordia. ROA.1465 (Res. 4-04); ROA.1280 (§ 1.2.1(a)(1)).

This Synod ownership purportedly extends to all assets titled or held in

the name of LCMS and agencies of Synod, such as Concordia. ROA.1830

(§ 1.2.1(r)). The “legal representative and custodian” of all Synod

properties is the Synod’s board of directors. ROA.1276 (Art. XI.E.2);

ROA.1374 (§ 3.3.4); ROA.1377 (§ 3.3.4.7). LCMS’s statement to the

contrary—that the LCMS board is the legal representative and custodian

of all Synod properties, LCMS Br. 25—is belied by the unambiguous

language of Synod bylaws.

   The Board of Directors of the Synod is the legal representative of
   the Synod and the custodian of all the property of the Synod.




                                         7
      Case: 25-50130      Document: 98-1       Page: 21   Date Filed: 06/27/2025



ROA.1374 (§ 3.3.4) (emphases added). 2

      The Synod bylaws recite that the Synod is “not a civil law entity,”

ROA.1282 (§ 1.2.1(v)). LCMS places near-decisive weight on this phrase

in its argument that it, not Synod, is the proper plaintiff and real party

in interest. But whatever the phrase’s import in isolation, other

provisions in Synod governance documents clearly provide that Synod,

like all organizations, is subject to civil authority, owns property, and has

capacity to participate in litigation.

      Most obviously, the same bylaws expressly acknowledge that the

Synod is “subject to civil authority.” ROA.1280 (§ 1.1.1(f)(2)). The Synod,

in fact, invokes civil laws—the “laws of the State of Missouri”—as a

source of the powers of its board of directors. ROA.1375 (§ 3.3.4.2).




2  Similarly, LCMS incorrectly describes statements quoted from the Synod
constitution as giving power and authority to LCMS that the plain words of the
document do not provide. LCMS says that its board is “custodian” of church property,
citing the Synod constitution. LCMS Br. 6, citing ROA.1276. It says that its board is
the church’s “legal representative,” again citing the Synod constitution. LCMS Br. 7,
citing ROA.1276. But this is taking liberties unsupported by the cited provision,
which says that “the Board of Directors” is legal representative and custodian of
church properties. Id. (XI.E.2). Its last sentence says that, as to Article XI (and only
Article XI), “The Lutheran Church—Missouri Synod includes both the Synod formed
by this Constitution and the Missouri corporation formed by the Synod.” It does not
say that the referenced board of directors is only the LCMS board. LCMS, despite
bearing the burden on this matter, has not identified any record facts that help
discern when the board is the Synod’s board and when it is LCMS’s in regard to
matters concerning Concordia.

                                           8
      Case: 25-50130     Document: 98-1       Page: 22    Date Filed: 06/27/2025



      Synod’s civil law capacity is clearly expressed on the subject of

Synod property. The church constitution designates the Synod board of

directors    as   the   “legal   representative          and   custodian”—not      an

ecclesiastical concept—of all church properties. ROA.1276 (Art. XI.E.2).

The bylaws invest the Synod board of directors with the same type of

“authority and responsibility” concerning Synod property as a secular

corporation’s board of directors. ROA.1377 (§ 3.3.4.7).3 And in the first

chapter of its bylaws, the Synod accedes to a practical reality: resorting

to “secular courts” to resolve property and contract disputes is sometimes

an unavoidable alternative to the intra-church dispute resolution

process, whose remedies the bylaws acknowledge to be non-exclusive.

ROA.1298 (§ 1.10.3); see also id. (§ 1.10.2) (specifically carving this §

1.10.3 exception from intra-church dispute resolution process).

      LCMS argues that it is the “only … entity” that can enforce the

church’s rights in civil courts and that this is “binding” on the Court.

LCMS Br. 26, 53. But the governing documents say otherwise. The Synod



3 This passage from Synod bylaws distinguishes the Synod from LCMS as an entity.

LCMS is specifically identified as an incorporated entity. Were LCMS and the Synod
one and the same, and were the Synod therefore an incorporated entity, there would
be no need to analogize the Synod board to a corporate board. It would be a corporate
board. LCMS’s brief devotes several pages to an argument about the Synod’s
corporate status, LCMS Br. 36-43, that this passage refutes.

                                          9
      Case: 25-50130     Document: 98-1      Page: 23   Date Filed: 06/27/2025



is self-empowered to engage in litigation in its own right. The policy

manual for the Synod board of directors says so. There, the Synod board

of directors is assigned the duty of approving the initiation of any

lawsuits “on behalf of the Synod or Corporate Synod,” ROA.2069 (§

4.14.2.2(h)(3)) (emphasis added), thus providing that the Synod is

empowered to file its own lawsuit without LCMS involvement. The point

is reiterated only a few passages later, with specific reference to the

Synod and no mention of the Corporate Synod. ROA.2084 (§ 4.18.3.3)

(“[n]o litigation proceeding shall be commenced by the Synod” without

prior board approval). The record includes a concrete example from as

recently as 2022 of the Synod’s exercise of this authority when, along with

other religious interests, the Synod—not LCMS—filed a federal appellate

amicus brief. ROA.2146-2175. 4

      In response to Concordia’s dismissal motion, LCMS belatedly added

a declaration of LCMS’s secretary, a non-lawyer, in attempted rebuttal

of these documented facts about the Synod. See ROA.2227-2230 (“Sias

declaration”).5 The fact section of LCMS’s brief describing church polity


4 This filing may be judicially
                              noticed. Murchison Capital Ptnrs., L.P. v. Nuance
Communications, Inc., 625 Fed.Appx. 617, 618 n.1 (5th Cir. 2015).
5 Later, in its objections to the magistrate-judge’s report and recommendation, LCMS

proffered another Sias declaration. ROA.3223-3265. It again disputes the magistrate
                                        10
      Case: 25-50130      Document: 98-1       Page: 24   Date Filed: 06/27/2025



draws mostly from the Sias interpretations, de-emphasizing the explicit

terms of the governing documents themselves and adding an

ecclesiastical patina that should be disregarded as ipse dixit contradicted

by the Synod governing documents. LCMS Br. 4-8. 6

      Sias’s declaration provided no new facts pertinent to the roles of

Synod and LCMS. Rather, it provided legal argument based on Sias’s

alternative interpretation, in contradiction to the unambiguous

language, of Synod governing documents. For example, Sias’s

interpretation is that the Synod does not directly own any property.

ROA.2228 (¶ 8). By Synod’s own documents the opposite is true. It is

LCMS that does not directly own any property. Bylaw § 1.2.1(r), for

example, defines “Property of the Synod” to include “[a]ll assets, real or

personal,” even if it is held in the name of LCMS or LCMS holds formal

title. ROA.1282.

      Concordia objected to the Sias declaration. ROA.2267. The report

and recommendation did not advert to it. The district court’s order of




judge’s legal interpretation of the Synod’s governance documents, offering an
extended exegesis of the last century and a half of church doctrine. Concordia again
objected, ROA.2267, and the dismissal order does not mention it.
6 By Concordia’s count, over 65% of the record citations in that section are to the two

Sias declarations.

                                          11
      Case: 25-50130      Document: 98-1      Page: 25   Date Filed: 06/27/2025



dismissal mentions it, but finds its assertion that the Synod simply does

not exist as a civil law entity refuted by the plain words of LCMS’s own

document. ROA.3314. The Sias declaration changes nothing in the

factual background pertinent to the jurisdictional dispute.

      B. Concordia’s November 2022 Actions

      Concordia’s relationship with the Synod shifted gradually over

time. In 1950, an unidentified committee of what appears to be the Synod

board of directors took no action but “recommend[ed]” that title of the

Austin campus—specifically described as “Synod’s property”—be

transferred to Concordia, with a trust retained “in favor of the Synod.”

ROA.1467 (¶7.a-b) (emphases added). 7 What actually happened in

response to the recommendation—and whether a trust was created at

all—is not documented in the record.

      LCMS says that in 2006, to facilitate Concordia’s sale of its long-

time Austin campus to move to a new one, it waived a reversionary

interest of unidentified origin it had held in the old campus. LCMS

alleges that a 2004 Synod resolution (Res. 4-04) required the university


7 The complaint’s text specifically refers to this document but mischaracterizes it as

showing that “LCMS approved” transfer of the Concordia property in trust.
ROA.1242 (¶26). The document is not an LCMS document, does not mention LCMS,
and approves nothing. On its face, it is a “committee recommend[ation]” to turn the
matter over to “our Synodical attorney … before action is taken.”

                                         12
     Case: 25-50130    Document: 98-1    Page: 26   Date Filed: 06/27/2025



to grant a reversionary interest in the new campus property “to LCMS,”

ROA.1241 (¶25), but the controlling resolution does not do that. The

Synod, not LCMS, asserted the right to a reversionary interest right

(contested to be sure by Concordia). The resolution says that “the Synod

owns the properties” of what it claims to be its Lutheran universities and

claims those properties—Concordia’s included—are “subject to a

reversionary interest or possibility of a reverter in favor of the Synod.”

ROA.1465 (emphases added).

     In May 2022, Concordia amended its certificate of formation with

the Texas Secretary of State to secure from the Internal Revenue Service

its own 501(c)(3) tax exemption for “religious [and] educational …

purposes.” ROA.1487.

     The litigation’s precipitating event happened in November 2022.

This marks a critical demarcation in university-church relations. LCMS’s

briefing suggests that Concordia acknowledges it is part of LCMS’s

college collection and owned by LCMS. LCMS Br. 10, 25 (citing Concordia

bylaws and its board’s policy manual). But the suggestion is wrong.

Concordia’s actions of November 2022 definitively turned the page on the

relationship, rejecting control by Synod. See ROA 1543 (Concordia’s

current “Purpose” and “Board” Articles of its Articles of Incorporation);
                                    13
     Case: 25-50130   Document: 98-1    Page: 27   Date Filed: 06/27/2025



ROA.1550     (Concordia’s   current      bylaws     language);     ROA.1568

(Concordia’s current policy manual language).

     In a bylaws-authorized majority vote of its board of regents,

ROA.1503, the Concordia board amended its bylaws and articles of

incorporation.   ROA.1546-1558    (amended bylaws);          ROA.1542-1545

(amended articles of incorporation). The amendments vested control of

the university in its board of regents and removed Concordia from the

governing authority of Synod and its agencies. ROA.1543; ROA.1550.

Until then, Concordia had been subject to the bylaws and constitution of

Synod, and election to its board of regents had been pursuant to Synod

bylaws. ROA.1496-1497. The 2022 amendments eliminated these

requirements, and governance of Concordia was separated from Synod

governance. The Concordia board reaffirmed the separation in April

2023. ROA.1615. Henceforth, the university is “aligned with, but not

subject to the authority or governance by” the Synod. ROA.1549.

     C. Synod’s Response

     Accused of attempting to “walk away with a historic property of the

Synod,” ROA.0253 (¶53), Concordia faced blowback from the church. The

Synod’s Commission on Constitutional Matters (“CCM”) issued a March

2023 opinion that the November 2022 actions violated Synod bylaws and

                                   14
        Case: 25-50130     Document: 98-1    Page: 28   Date Filed: 06/27/2025



its constitution.        ROA.1253-1254 (¶46)        (Op.   23-3006).     Declaring

Concordia, as a Synod university, to be “property of the Synod,”

ROA.1612,      the   CCM       concluded     that   Concordia’s     “unauthorized

separation … from the Synod inherently involves a legal and property

matter” that is to be referred to the Synod Board of Directors “as the legal

representative and custodian of the property of the Synod,” ROA.1612-

1613.


        Four months later, the “Synod in convention”—the highest

authority of the Synod, ROA.1236 (¶12)—affirmed the CCM opinion.

ROA.1235 (¶8). It found the November 2022 Concordia actions null and

void and called on the university “to submit to the governance of the

Synod.” ROA.1614-1616. Concordia did not acquiesce, ROA.1254 (¶47),

and a few days later declined to seat four people that the Synod in

convention purportedly elected to Concordia’s board. ROA.1249 (¶37);

ROA.1597-1600.




                                        15
      Case: 25-50130    Document: 98-1      Page: 29   Date Filed: 06/27/2025



II.   Course of Proceedings in the District Court

      A. Proceedings

      A month later, ROA.3 (Doc. 1), 8 LCMS filed suit in federal district

court against Concordia, its then-President Donald Christian, and its

then-Board Chair Christopher Bannwolf. ROA.1233 (¶¶2-4). It also sued

John Does 1-12 as unknown members of the Concordia board of regents

who voted for the November 2022 actions. ROA.1234 (¶5).

      LCMS, “on behalf of itself and Synod,” requested a declaratory

judgment to establish “LCMS rights with respect to CTX’s property” and

“confirming as a matter of law the Synod’s decision” that the Concordia

defendants illegally amended the Concordia charter, bylaws, and policy

manual. ROA.1235 (¶8); ROA.1254-1255 (¶49, 50) (emphasis added).

More specifically, LCMS sued for a federal court declaration “confirming

the CCM decision, as ratified by the Synod convention.” ROA.1255 (¶50).

The Synod was not a named plaintiff.




8 LCMS amended its complaint after the Concordia defendants moved to dismiss on

jurisdictional grounds. ROA.826-1227; ROA.1233-1795. Record citations here are to
the amended complaint, except that LCMS’s original complaint asserted all legal
claims “by and on behalf of the Synod.” ROA.35 n.10. The phrase may well have
ceased to be legally binding when LCMS’s amended complaint dropped it, but the
admission that the suit was “by … the Synod” retains evidentiary value. Sanders v.
Univ. of Texas Pan American, 776 Fed.Appx. 835, 837-38 (5th Cir. 2019).

                                       16
       Case: 25-50130     Document: 98-1       Page: 30   Date Filed: 06/27/2025



       LCMS made only state law claims. ROA.1254-1265 (¶¶48-81). The

only asserted basis for jurisdiction was diversity under 28 U.S.C. §

1332(a)(1), because the only named plaintiff, LCMS, was a Missouri

citizen and the three named defendants were Texas citizens. ROA.1233

(¶¶1-4); ROA.1234 (¶6). The Texas state law claims were:

    • breach of contract or, alternatively, promissory estoppel (against
      Concordia), ROA.1256-1259 (¶¶53-63);

    • breach of fiduciary duty (against all Concordia defendants),
      ROA.1260-1262 (¶¶64-72);

    • violation of the Texas Business Organizations Code (against
      Concordia and its President), ROA.1262-1264 (¶¶73-79); and

    • tortious interference with contract (against the Concordia
      President), ROA.1265 (¶¶80-81).

All the claims arise from injuries the Synod is said to have suffered.9

       The contract that LCMS alleges Concordia breached is composed of

five documents, none of which is a LCMS document. Three are Concordia

documents, and two are Synod documents. ROA.1245 (¶30) (defining


9 In  addition to requesting declaratory relief based on these claims, LCMS also
requested monetary damages, but only “alternatively” in the event the requested
declaratory relief was not granted. ROA.1266 (¶86.b). LCMS mistakenly labeled its
request for declaratory relief as a cause of action. ROA.1254-1256 (¶¶48-52). Texas’s
declaratory judgment statute does not apply. Utica Lloyd’s of Texas v. Mitchell, 138
F.3d 208, 210 (5th Cir. 1998). The federal declaratory judgment statute applies, but
provides a potential remedy, not a cause of action. Okpalobi v. Foster, 244 F.3d 405,
423 n.31 (5th Cir. 2001) (en banc). Nor does it create federal court jurisdiction. Frye
v. Anadarko Petro. Corp., 953 F.3d 285, 293 (5th Cir. 2019)

                                          17
      Case: 25-50130      Document: 98-1      Page: 31   Date Filed: 06/27/2025



“CTX governance documents”). All the rights allegedly impaired by the

breach are Synod rights, not LCMS rights. ROA.1256-1257 (¶55.a-f). The

alternative promissory estoppel claim 10 is to the same effect. The alleged

promises were to the Synod, not LCMS, and the purported acts of reliance

were acts of the Synod. ROA.1258-1259 ¶¶60-63).

      The breach of fiduciary duty claim is even more bluntly asserted as

an invasion of the Synod’s rights. See, e.g., ROA.1260 (¶64) (defendants

“owe a fiduciary duty to the Synod”); ROA.1262 (¶71) (defendants

“breached fiduciary duties to the Synod”).

      The claim under the Texas Business Organizations Code follows the

same pattern. The statutory obligations Concordia allegedly violated are

purportedly owed to the Synod, not to LCMS. See, e.g., ROA.1263 (¶76)

(appointments pursuant to Synod rules and regulations and Concordia

bylaws and “pre-approval of the Synod” of changes to Concordia

governance documents); ROA.1264 (¶78) (Concordia’s November 2022

amendments caused “loss to Synod”).

      The tortious interference claim likewise takes the same path. The

allegedly interfered-with contract is the same as in the breach of contract


10 The claim is only available in the absence of a valid contract, Fortune Production

Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000).

                                         18
      Case: 25-50130   Document: 98-1    Page: 32   Date Filed: 06/27/2025



claim: a collection of Synod and Concordia documents. ROA.1265 (¶81).

The alleged harms yet again are harms to the Synod.

     B. Disposition in the District Court

     The Concordia defendants moved to dismiss LCMS’s amended

complaint for lack of subject matter jurisdiction and for failure to join an

indispensable    party.     ROA.1800-2175.    The     amount-in-controversy

requirement was not contested, ROA.3090 n.7. The existence of complete

diversity was. The Synod was argued to be the real party in controversy,

the real party in interest and an indispensable party. ROA.1815 (real

party in controversy); ROA.1813 (real party in interest); ROA.1817

(indispensable party). Since the Synod was a Texas citizen (as were the

defendants), Concordia urged dismissal of the lawsuit for lack of subject

matter jurisdiction. ROA.1820.

     About a month and a half before Concordia’s motion to dismiss,

LCMS had removed to the same federal court a mirror-image state court

suit for declaratory judgment that Concordia had filed against it and the

Synod. See Concordia University Texas v. The Lutheran-Church–

Missouri    Synod,     an    unincorporated     Association     of   Lutheran

Congregations, et al., No. 1:24cv176 (filed Feb. 21, 2024) (“Concordia state



                                    19
      Case: 25-50130      Document: 98-1       Page: 33   Date Filed: 06/27/2025



suit”). 11 The removed suit was consolidated with this suit for purposes of

determining the motion to dismiss in this suit and the motion to remand

in the removed suit, ROA.2191, and the motions were assigned to the

magistrate-judge. ROA.3082.

      The magistrate-judge recommended granting Concordia’s motion to

dismiss LCMS’s suit and its motion to remand the removed Concordia

state suit. ROA.3098. LCMS objected. ROA.3192-3265. The district court

adopted the magistrate-judge’s report and recommendation “in full” as

the opinion of the court, granted Concordia’s motion to dismiss without

prejudice, and granted Concordia’s motion to remand the Concordia state

suit for lack of subject matter jurisdiction. ROA.3321.

      The court found that the Synod is an unincorporated association

and, because it has Texas members, is a Texas citizen. ROA.3093.

Explaining that the Synod and the LCMS “are not one and the same,”




11 The Court may take judicial notice of pleadings filed in other judicial proceedings.

Lowrey v. Texas A&M Univ. System, 117 F.3d 242, 246 n.3 (5th Cir. 1997). The factual
allegations in the two lawsuits differ in some details. As already indicated, the facts
here are drawn nearly entirely from those alleged in LCMS’s live pleading in this
federal suit.



                                          20
      Case: 25-50130    Document: 98-1      Page: 34   Date Filed: 06/27/2025



ROA.3308, 12 it rejected LCMS’s argument that the formation of LCMS

“precludes the existence of Synod as a separate unincorporated

association,” ROA.3304, and held that Texas law recognizes the Synod as

an unincorporated association. ROA.3307.

      The court determined that the Synod “holds the substantive rights

at issue” in the case and that the rights LCMS asserts against the

defendants “are the Synod’s.” ROA.3087. LCMS, the court said, does not

“possess[] rights with respect to Defendants that are independent of the

Synod.” ROA.3088 (“even if LCMS held title” to the property at issue, it

would “belong to the Synod”).

      The court then marched through the specific claims. Assuming the

contractual breach claim actually identified a contract, LCMS failed to

show that it was a party to the contract. Id. The court applied the same

reasoning to the tortious interference claim. ROA.3089. If any fiduciary

duties existed, they were owed to the Synod, not LCMS. Id. The same

rationale applied to the claims under the Texas Business Organizations

Code. Id.



12 The magistrate-judge found it “paradoxical[]” that LCMS was arguing that the

Synod is not a separate entity from LCMS given its “repeated assertions” that the
Synod created LCMS. ROA.2217.

                                       21
      Case: 25-50130     Document: 98-1       Page: 35   Date Filed: 06/27/2025



      The court rejected the argument that the Synod’s status as a

religious organization is a bulwark against it ever being a proper party

to a lawsuit. ROA.3096. The lawsuit is about “the Synod’s interest in

CTX’s new campus property,” and that, said the court, is a “pure civil-law

controversy.” ROA.3313. Resolving that controversy does not require

“any inquiry into religious doctrine,” ROA.3098, and the church

autonomy doctrine is therefore inapplicable.

      The court found that LCMS did not have standing because it did

not have rights with respect to the Concordia defendants “independent of

the Synod.” ROA.3088. 13 It held the Synod to be the real, indispensable

party in interest whose Texas citizenship defeated the requirement of

complete diversity, ROA.3098, ROA.3320, and dismissed the lawsuit for

lack of jurisdiction.




13 “[M]ere authorization to represent a third party’s interests” is not sufficient to

confer Article III standing on “private parties with no injury of their own.”
Hollingsworth v. Perry, 570 U.S. 693, 710 (2013).



                                         22
      Case: 25-50130   Document: 98-1    Page: 36   Date Filed: 06/27/2025



                  SUMMARY OF THE ARGUMENT

     This appeal is the culmination of a nearly two-year forum shopping

effort by which Synod has attempted to force this state law dispute into

federal court under the guise of the free exercise of religion. The district

court’s decision is an uncontroversial application of clearly applicable

jurisdictional rules and long-standing precedent. Synod’s citizenship

controls the diversity analysis because it is the real party in interest and

real party in controversy and holds all of the alleged substantive rights

at issue. Based on the unambiguous provisions of its own governing

documents, Synod is an unincorporated association with legal power and

capacity to litigate. Synod has members in Texas therefore diversity

jurisdiction does not exist. The only reason for this proceeding is Synod’s

unsupported claim that it can simply declare that it has no capacity to

litigate as a matter of religious freedom. However, this argument is

unavailing because nothing in the First Amendment or the church

autonomy doctrine abrogates the constitutional limits of federal court

jurisdiction. Alternatively, if the investigation of jurisdiction requires

intrusion on church autonomy, the courts lack jurisdiction and must

dismiss.



                                    23
      Case: 25-50130   Document: 98-1    Page: 37   Date Filed: 06/27/2025



     There is a presumption against finding diversity jurisdiction.

LCMS had the burden to establish jurisdiction but refused—and still

refuses—to do its job, saying that religious freedom releases it from that

legal duty. But federal jurisdictional limits are not subject to religious

doctrinal adjustment. The district court had an independent duty to go

beyond the pleadings to determine jurisdiction. Unsurprisingly, with the

application of neutral, secular, and universally applicable precedent, the

district court found no diversity and correctly dismissed for lack of

jurisdiction. The denial of access to federal court does not inhibit Synod’s

free exercise of religion because religious freedom does not guarantee

federal court jurisdiction and does not eliminate the independent duty of

courts to examine jurisdiction.

      Synod’s claim that it lacks capacity to litigate is completely

unsupported and contradicted by its own governing documents. Synod’s

constitution, bylaws, and board policy manual unambiguously state that:

a) Synod is separate from LCMS (dubbed “Corporate Synod”); b) Synod is

an association of congregations; c) Synod is subject to civil authority; d)

Synod can and does own property; e) Contract and property disputes

sometimes require resort to secular courts; f) Synod’s board (not LCMS)

is Synod’s legal representative and custodian of Synod’s property; and g)
                                    24
      Case: 25-50130   Document: 98-1     Page: 38   Date Filed: 06/27/2025



Synod’s board has authority to initiate litigation on Synod’s behalf. It

cannot be reasonably questioned that Synod has capacity to participate

in this lawsuit that seeks to enforce rights that it purports to hold.

     The complaint filed on Synod’s behalf expressly states that all of

the rights at issue belong to Synod. The alleged contract, promissory

estoppel, fiduciary duty, Business Organizations Code, and tortious

interference claims are all asserted to vindicate Synod’s (not LCMS’s)

purported rights. Accordingly, LCMS is a nominal party that must be

ignored and diversity must be determined by Synod’s citizenship because

it is the real party in interest and the real party in controversy.

     The district court’s dismissal does not in any way infringe on the

religious autonomy of Synod. The religious autonomy doctrine prohibits

court interference with ecclesiastical determinations of internal

management decisions, internal discipline, and internal governance. The

sole issue in this appeal is whether Synod has capacity to be a party in

court, which is an issue of how Synod interacts with external

governmental bodies. This has nothing to do with internal ecclesiastical

management or discipline. The church autonomy doctrine does not

provide a church “general immunity from secular laws.” Our Lady of

Guadalupé School v. Morrissey-Berru, 591 U.S. 732, 746 (2020). Synod’s
                                     25
     Case: 25-50130   Document: 98-1    Page: 39   Date Filed: 06/27/2025



proposed rule would make it completely immune to jurisdictional limits,

rendering Morrissey a nullity.

     The claim that Synod and LCMS are a single entity, and therefore

Synod cannot be an unincorporated association, makes no sense. Synod’s

governing documents and the pleadings make clear that Synod and

LCMS are distinct, that LCMS is incorporated, that Synod is not

incorporated, and that the alleged rights to be adjudicated belong to

Synod. For more than a century, Missouri precedent establishes that

when a religious organization forms a corporate entity, the religious

organization continues its separate existence. This Court’s precedents, as

well as Texas Supreme Court precedent, clearly establish that churches

exist as unincorporated associations. Furthermore, the citizenship of a

church operating as an unincorporated association controls for diversity

purposes. Hummel v. Townsend, 883 F.2d 367 (5th Cir. 1989).

     There is no basis to apply the doctrine of constitutional avoidance.

Nothing in the unincorporated association act, or its application intrudes

upon Synod’s internal management or discipline. The obvious conclusion

is that the bylaws provision stating that Synod is an association of

congregations means exactly what it says – Synod is an unincorporated

association.
                                   26
      Case: 25-50130      Document: 98-1    Page: 40   Date Filed: 06/27/2025



     The Texas Religious Freedom Restoration Act (“TRFRA”) has no

application to this case because it only applies to state government

agencies. The district court’s conclusion that it lacked jurisdiction in no

way infringed on Synod’s free exercise of religion. TRFRA cannot impose

limitations on the district court and does not expand or alter the limits of

diversity jurisdiction.

     The internal affairs doctrine only prohibits interference with

relationships among or between a corporation and its officers, directors,

and shareholders. Nothing in the district court’s order interferes with

any such internal relationships for LCMS or Synod.

     Appellant’s final argument miscites the district court’s order to

manufacture a nonexistent Rule 19 issue. The magistrate and the district

court determined that Synod is the real party in interest under Rule 17

and the real party in controversy. Nothing in the magistrate’s report or

the district court’s order dismissed for failure to join an indispensable

party under Rule 19. LCMS did not object to the magistrate’s Rule 17

findings or conclusions and did not object to the absence of a Rule 19

indispensable party analysis, therefore this argument is irrelevant and

cannot provide the basis for appellate relief.



                                       27
      Case: 25-50130      Document: 98-1       Page: 41   Date Filed: 06/27/2025



      The arguments of Synod and LCMS are unavailing. The district

court properly dismissed and the Court should affirm.

                          STANDARDS OF REVIEW

      District court determinations of diversity jurisdiction are reviewed

de novo on appeal. McKee v. Kansas City Southern Ry. Co., 358 F.3d 329,

333 (5th Cir. 2004). Any facts expressly or impliedly found are reviewed

for clear error. Cole v. Gen’l Motors Corp., 484 F.3d 717, 721 (5th Cir.

2007).14


      Appellate review of a pre-answer determination that the real party

in interest is absent is de novo. Magallon v. Livingston, 453 F.3d 268, 271

(5th Cir.).

      Appellate review of magistrate findings and conclusions to which

no objection has been lodged is for plain error. Douglass v. United Servs.

Auto. Ass'n, 79 F.3d 1415, 1428-29 (5th Cir. 1996).



14 Contrary to LCMS’s claim, LCMS Br. 18, the standard for review of facts in cases

involving the First Amendment’s right to freedom of association—assumed here to
extend to the First Amendment’s freedom of religion clause—is mixed. Historical
facts, such as weighing conflicting evidence, are reviewed for clear error, while
questions of constitutional fact are reviewed de novo. Prete v. Bradbury, 438 F.3d 949,
960 (9th Cir. 2006). To the extent there are fact issues pertinent to the jurisdictional
question here, review would be for clear error, not de novo. For example, discrepancies
between the alleged facts or the Sias declarations on the one hand and the exhibit
documents on the other should be, and were, resolved by implication in favor of the
statements in the exhibits. Such fact findings are not clearly erroneous.

                                          28
     Case: 25-50130   Document: 98-1      Page: 42   Date Filed: 06/27/2025



                              ARGUMENT

     Disposition of the diversity jurisdiction issue in this appeal is

guided by basic, well-established principles. First the limits on federal

court jurisdiction to decide the merits of a lawsuit presenting only state

law claims—as this one does—are constitutional. There must be complete

diversity. No party on the defendant side may share the same state

citizenship as any party on the plaintiff side. Strawbridge v. Curtiss, 7

U.S. (3 Cranch) 267 (1806) (construing U.S. Const. Art. III, § 2). The same

limitation is imposed by § 1332. Carden v. Arkoma Assocs., 494 U.S. 185,

187 (1978).

     Second, the presumption is against complete diversity. Lehigh

Mining and Mfg. Co. v. Kelly, 160 U.S. 327, 337 (1895). The plaintiff—

here, LCMS—has the burden of establishing complete diversity.

Thomson v. Gaskill, 315 U.S. 442, 446 (1942); Arena v. Graybar Elec. Co.,

669 F.3d 214, 219 (5th Cir. 2012).

     Third, a federal court must disregard nominal or formal parties,

such as LCMS, and rest diversity jurisdiction “only upon the citizenship

of real parties to the controversy.” Navarro Savings Ass’n v. Lee, 446 U.S.

458, 461 (1980); see also Corfield v. Dallas Glen Hills LP, 355 F.3d 853,

857 (5th Cir. 2003). A real party to the controversy for diversity purposes

                                     29
       Case: 25-50130      Document: 98-1       Page: 43   Date Filed: 06/27/2025



is one with “a ‘substantial stake’ in the outcome of the case.” Krier-

Hawthorne v. Beame, 728 F.2d 658, 664 n.8 (4th Cir. 1984). 15 Here, that

is the Synod.

      Fourth, the citizenship of its members determines the citizenship

of an unincorporated association. Carden, supra, 494 U.S. at 195-96. The

“members” are “the several persons composing such association.” Id. at

196. When an unincorporated association is a real party to the

controversy, complete diversity—and thus jurisdiction—does not exist if

one of its members has the same state citizenship as one of the

defendants. At least one member of the Synod shares Texas citizenship

with the Concordia defendants.



15 As this Court has sometimes done, see, e.g., Wolff v. Wolff, 768 F.2d 642, 645 (5th

Cir. 1985), the district court used the phrase “real party in interest” from Fed. R. Civ.
P. 17(a)(1) interchangeably with the phrase “real party in controversy,” ROA.3315,
and concluded that the Synod held “the substantive rights” in the lawsuit. ROA.3318.
That the analysis supporting this conclusion was largely framed in Rule 17 terms
does not alter its jurisdictional determination. First, courts often use the citizenship
of the real party in interest to determine whether diversity exists. 6A Wright &
Miller, Fed. Prac. & Proc. § 1556 (3d ed.). There is “rough symmetry” between the
Rule 17 phrase and the jurisdictional phrase “real party to the controversy.” Navarro,
446 U.S. at 462 n.9. Second, Rule 17(a)’s “real party in interest” standard is a
procedural rule that neither extends nor limits subject matter jurisdiction, Airlines
Reporting Corp. v. S and L Travel, Inc., 58 F.3d 857, 861 n.4 (2d Cir. 1995), therefore
the jurisdictional phrase sets a stricter constitutional standard. Oscar Gruss & Son,
Inc. v. Hollander, 337 F.3d 186, 194 (2d Cir. 2003). A finding that the Synod is the
real party in interest necessarily means that the Synod is a real party to the
controversy. Third, this Court makes its own, independent jurisdictional
determination. Carden, supra, 494 U.S. at 195.

                                           30
      Case: 25-50130   Document: 98-1    Page: 44   Date Filed: 06/27/2025



 I.   The Church Autonomy Doctrine Does Not Bar the
      Determination that the Synod is the Real Party to the
      Controversy.

      This appeal asks whether LCMS established federal diversity

jurisdiction. LCMS argues that the district court was compelled to take

LCMS at its word on the question of diversity, despite the fact that what

LCMS and Sias claimed is directly contradicted by the unambiguous

terms of Synod’s constitution and bylaws. This turns the inquiry into

subject matter jurisdiction inside out. Compelled judicial passivity is

anathema to the duty to independently determine federal jurisdiction

and has no basis in the law of federal courts. “Without jurisdiction the

court cannot proceed at all in any case.” Ex parte McCardle, 74 U.S. (7

Wall.) 506, 514 (1868).

      A. The Church Autonomy Doctrine Does Not Absolve LCMS
         of Shouldering the Burden of Establishing Diversity
         Jurisdiction, Nor Does it Strip Federal Courts of the
         Obligation    to  Determine    Whether   They   Have
         Jurisdiction.

      LCMS’s primary challenge to the district court’s jurisdictional

dismissal ruling rests on the First Amendment doctrine of church

autonomy. LCMS Br. 20-35. LCMS argues that the district court’s

determination unconstitutionally intruded on church autonomy by not

accepting LCMS’s and Sias’s unsupported declaration that Synod cannot

                                    31
      Case: 25-50130   Document: 98-1    Page: 45   Date Filed: 06/27/2025



be a real party in controversy in litigation regarding Synod’s own

interests. No case authority adopts such a wild variant in the church

autonomy doctrine. It would be unconstitutional to do so in the context of

a diversity jurisdiction case.

     The church autonomy doctrine does not strip federal courts of the

fundamental obligation to determine whether they have subject matter

jurisdiction. There is no First Amendment religious freedom right to

compel a federal district court to disregard basic constitutional and

statutory limitations on its jurisdictional authority in forced obeisance to

internal church doctrine and deliberations.

     The courts have made this point. The church autonomy doctrine

does not provide a church “general immunity from secular laws.”

Morrissey-Berru, 591 U.S. at 746 (2020); O’Connell v. United States

Conference of Catholic Bishops, 134 F.4th 1243, 1254 (D.C. Cir. 2025);

Hummel, 883 F.2d at 372 (5th Cir. 1989) (Bishop claiming to represent

the LDS church’s interests in a representative capacity failed to establish

diversity because the citizenship of the church controlled for

jurisdictional purposes). The federal diversity constitutional and

statutory rules are indisputably secular laws, and Synod cannot

immunize itself from judicial inquiry into whether the jurisdictional
                                    32
     Case: 25-50130   Document: 98-1        Page: 46   Date Filed: 06/27/2025



requirements have been met, particularly in a lawsuit instigated on

behalf of Synod itself. Synod, after all, was not hauled into court in this

case. Synod, through LCMS, filed the lawsuit, asking the federal court to

exercise diversity jurisdiction over claims that, because diversity is

absent, could only have been brought in a Texas state court.

     Diversity jurisdiction is notoriously not a pliable concept. The

statute conferring diversity jurisdiction, 28 U.S.C. § 1332, is one of

“jealous restriction” and must be strictly construed. City of Indianapolis

v. Chase Nat’l Bank of City of New York, 314 U.S. 63, 76 (1941). This

restrictive jurisdiction “cannot be conferred” by a party’s “own

determination of who are plaintiffs[.]” Id. at 69. To satisfy its

jurisdictional duty, a federal court must make the determination itself

and “look beyond the pleadings.” Id.; see also Mississippi ex rel. Hood v.

AU Optronics Corp., 571 U.S. 161, 174 (2014) (courts sometimes must

“look behind the pleadings to ensure that parties are not improperly

creating … diversity jurisdiction”).

     Jurisdiction cannot be hypothesized. Rather, it is the “first and

fundamental question” and the requirement that it be established as a

threshold matter is “inflexible and without exception.” Great Southern

Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453 (1900); see also Steel Co.
                                       33
      Case: 25-50130   Document: 98-1    Page: 47   Date Filed: 06/27/2025



v. Citizens for a Better Environment, 523 U.S. 83, 101 (1998) (rejecting

concept of “hypothetical jurisdiction”).

     The church autonomy doctrine does not absolve churches and

religious organizations of the duty to carry their burden of establishing

jurisdiction. If Synod takes the initiative and prays for a federal court to

resolve a property dispute, Synod cannot simultaneously truncate the

jurisdictional inquiry by putting what it self-proclaims to be internal

matters off limits to scrutiny. Allowing that would relieve Synod of its

clear duty to prove the existence of diversity jurisdiction. Churches do

not have the right to evade that duty on religious grounds. Religious

organizations, like everyone else, must positively establish the

jurisdiction they claim as the basis for their lawsuit. Cf. Employment

Div’n, Dept. of Human Resources of Oregon v. Smith, 494 U.S. 872 (1990)

(being compelled to follow neutral laws of general applicability is not a

violation of religious freedom).

     Civil courts “do not inhibit free exercise of religion merely by

opening their doors” to church property disputes, Presbyterian Church in

the United States v. Mary Elizabeth Blue Hull Memorial Presbyterian

Church, 393 U.S. 440, 449 (1969). By the same token, closing the federal



                                    34
      Case: 25-50130     Document: 98-1      Page: 48   Date Filed: 06/27/2025



court doors as required by constitutional limits on federal judicial power

does not inhibit the free exercise of religion.

      The church autonomy doctrine is not a permission slip for Synod

and LCMS to have it both ways. Eleventh Amendment waiver rules

exemplify why and provide a useful model for analyzing this case. A state

may not voluntarily invoke federal jurisdiction to seek exercise of federal

judicial power on the merits of a legal dispute, then turn around and

claim Eleventh Amendment immunity from the exercise of that power.

Lapides v. Bd. of Regents of the University System of Georgia, 535 U.S.

613, 618-19 (2002). It would be “anomalous and inconsistent” to hold

otherwise. Id. There is no reason the same principle should apply

differently in the context of this case and the church autonomy doctrine.16

Synod, through LCMS, filing suit in federal court on diversity grounds

waived any conjured-up church autonomy defense against an inquiry into

whether diversity existed. The Supreme Court has instructed district

courts to look behind the pleadings to ensure diversity exists. The district




16 This Court has not yet resolved whether, when applicable, the church autonomy

doctrine—sometimes call the “ecclesiastical abstention doctrine”—is a jurisdictional
bar or an affirmative defense. See McRaney v. North American Mission Bd. of the
Southern Baptist Convention, Inc., 966 F.3d 346, 348 n.1 (5th Cir. 2020). However,
the waiver principle is the same either way.

                                        35
     Case: 25-50130    Document: 98-1     Page: 49   Date Filed: 06/27/2025



court performed this duty. The church autonomy doctrine has not

cancelled the instruction, and the court below properly carried it out.

     Alternatively, if the district court’s jurisdictional investigation is off

limits because, as claimed by Synod, it requires determination of

ecclesiastical matters, the court lacked jurisdiction and was required to

dismiss. In a decision handed down on the date of this brief, the Texas

Supreme Court clearly articulated this requirement. In response to a

claim that ecclesiastic abstention applied and that the court was required

to enforce the position of the United Methodist conference, the court

concluded that if church autonomy applied, it could not adopt the

ecclesiastic position of any party because it would lack subject matter

jurisdiction. S. Methodist Univ. v. S. Cent. Jurisdictional Conference of

the United Methodist Church, No. 23-0703, slip op. at 11 (Tex. June 27,

2025).

     In this case, Synod is claiming that the jurisdictional determination

intrudes on its religious autonomy and therefore the district court and

this Court are required to adopt and enforce Synod’s ecclesiastic position.

This is precisely what the church autonomy doctrine prohibits. If the

court is required to adopt an ecclesiastic position of any party, the court



                                     36
      Case: 25-50130   Document: 98-1    Page: 50   Date Filed: 06/27/2025



lacks subject matter jurisdiction under the autonomy doctrine and must

dismiss.

     B. The District Court’s Inquiry Into Its Jurisdiction Did
        Not Intrude on Church Autonomy.

     Even if the church autonomy doctrine could conceivably be

considered a justified limitation on a court’s duty to determine its own

jurisdiction, the district court inquiry and decision challenged by LCMS

did not intrude on the Synod’s autonomy.

     As already observed, religious institutions are not immune from

secular laws. Morrissey-Berru, supra, 591 U.S. at 746. Nothing in the

church autonomy doctrine exempts Synod from complying with such

neutral legal principles as the constitutional limits of jurisdiction. The

church autonomy doctrine only limits a court’s involvement in “internal

management decisions that are essential to the institution’s central

mission” that require resort to ecclesiastic, rather than legal, principles.

Id. For example, in Kedroff v. Saint Nicholas Cathedral of Russian

Orthodox Church, 344 U.S. 94 (1952), the church autonomy doctrine

applied because it was an internal church dispute regarding a patriarchal

appointment of a bishop conflicting with an election by a convention – an

inherently internal dispute that would require the court to determine the


                                    37
      Case: 25-50130   Document: 98-1     Page: 51   Date Filed: 06/27/2025



ecclesiastical authority of the patriarch and the convention. Similarly, in

Serbian E. Orthodox Diocese v. Milivojevich, 426 U.S. 696 (1976), the

doctrine applied to an internal dispute about competing ecclesiastical

authorities. Appellant, and amici, have cited a myriad of similar cases

which all bear the identical trait, which is an internal church dispute

regarding ecclesiastical discipline, authority, or doctrinal adherence.

     This appeal does not involve an internal dispute requiring

interpretation of ecclesiastical doctrine. The sole issue in this appeal is

whether Synod can simply declare that it lacks capacity to be a party to

a lawsuit seeking enforcement of its own interests. This is an issue of how

Synod interacts with external, not internal, bodies such as courts and

other governmental institutions. Therefore, this appeal has nothing to do

with “rules and regulations for internal discipline and government” to

which the autonomy doctrine applies. Milivojevich, 426 U.S. 696, 724.

     If adopted, Synod’s proposed application of the autonomy doctrine

would grant religious institutions a general immunity from secular laws

in abrogation of Morrissey-Berru. Synod proposes that a religious

institution can, merely by declaration of sincere religious belief, render

itself completely immune to the jurisdiction of all courts. If effective, such

a declaration would make it impossible for any court to enter any
                                     38
      Case: 25-50130   Document: 98-1    Page: 52   Date Filed: 06/27/2025



judgment binding on the religious institution, rendering the institution

completely immune from all secular law. We know that the autonomy

doctrine does not go so far. “This does not mean that religious institutions

enjoy a general immunity from secular laws.” Morrissey-Berru, 591 U.S.

at 746. Adopting Synod’s proposed rule would render Morrissey-Berru

and its predecessors a nullity.

     Furthermore, the limits of the autonomy doctrine find their fullest

expression in the context of church property disputes of the sort involved

here. There is no First Amendment requirement in such disputes to

follow a “rule of compulsory deference to religious authority.” Jones v.

Wolf, 443 U.S. 594, 605 (1979). Instead of that, the courts take what is

called a “neutral principles of law” approach, which allows civil

adjudication of such disputes while at the same time avoiding the

“resolution of issues of religious doctrine or polity.” Id. at 602. Texas

courts do this, too. See In re Lubbock, 624 S.W.3d 506, 513 (Tex. 2021),

citing Masterson v. Diocese of Nw. Texas, 422 S.W.3d 594, 596 (Tex. 2013).

     Application of the neutral principles approach typically includes

court examination of some religious documents such as church

constitutions. Jones, supra, 443 U.S. at 603 (citing Maryland and

Virginia Eldership of the Churches of God v. Church of God at
                                    39
      Case: 25-50130      Document: 98-1      Page: 53   Date Filed: 06/27/2025



Sharpsburg Church, Inc., 396 U.S. 367, 368 (1970) (per curiam)). But

such scrutiny is conducted on secular terms, avoiding reliance on

religious concepts. Jones, 443 U.S. at 604.17

      The district court adhered closely to these precepts. Speculation

about religious doctrine was abjured, and the terms of the documents

were viewed only from a secular perspective.

      In these documents, the court found the church—the Synod—

describing itself as an “association of self-governing congregations.”

ROA.1282 (Bylaws § 1.2.1(v)). The church-in-convention claimed

ownership of all the properties of all Synod agencies, including its

universities. ROA.1465 (Convention Res. 4-04). The board of directors of

the Synod is the Synod’s legal representative and “custodian of all the

property of the Synod.” ROA.1374 (Bylaws § 3.3.4). The Synod, say the

documents, is “subject to civil authority,” ROA.1282 (Bylaws § 1.1.1(f)(2)),

acknowledging the necessity of sometimes turning to “secular courts” to

resolve the church’s property and contract disputes. ROA.1298 (Bylaws §

1.10.3). Finally, the governing documents make clear that the Synod



17 This limitation is another reason the Sias declarations are inapposite to the issue

in this case. They try to infuse unambiguous secular terms of the governing church
documents with religious concepts.

                                         40
      Case: 25-50130   Document: 98-1    Page: 54   Date Filed: 06/27/2025



Board may initiate lawsuits “on behalf of Synod or Corporate Synod.”

ROA.2069 (Board Policy Manual § 4.14.2.2(h)(3)).

     The claims in the lawsuit reflect the foregoing: that the rights

Synod considers to be at stake in the lawsuit are the Synod’s rights, not

LCMS’s. As the district court found, each state law claim is framed as

arising from an invasion of, or injury to, the Synod’s rights, which, of

course, makes perfect sense given what the governing documents say.

The “not a civil law entity” phrase that is included in the documents is

not a talisman warding off all judicial scrutiny. It is just one, among

many, descriptions of what the church is and what its powers are, which

expressly include participating in litigation such as this.

     This, then, is what the district court considered when it determined

that the Synod was a real party to the controversy. It considered the

terms in the church documents from a neutral, secular perspective (as it

was permitted and required to do). And from that consideration, it

reached the conclusion that it had to consider whether the presence of

the Synod as the real party to the controversy regarding control of

Concordia’s campus left it with jurisdiction to hear the case. Nothing in

all this violated a single strand of the church autonomy doctrine or

intruded into the spiritual affairs of Synod.
                                    41
      Case: 25-50130   Document: 98-1    Page: 55   Date Filed: 06/27/2025



      The next task, then, was to determine the impact of Synod as the

real party to the controversy on the requirement of complete diversity—

and the court concluded it destroyed it.

II.   The Synod is an Unincorporated Association with Texas
      Citizenship.

      LCMS’s next argument is that Synod is not an unincorporated

association under the Texas Uniform Unincorporated Nonprofit

Association Act, Tex. Bus. Org. Code ch. 252 (“Unincorporated

Association Act” or “Act”). The argument is unavailing and its premise

insupportable.

      The core of LCMS’s argument is that the Synod cannot be

considered an unincorporated association under the Act because LCMS

is incorporated, LCMS is the Synod, and an incorporated entity cannot

be an unincorporated one. LCMS Br. at 37-43. It seeks to buttress the

statutory argument by relying on three broad principles none of which

have any actual bearing on the language of the statute or the applicable

precedents from this Court and the Texas Supreme Court. LCMS Br. 43-

50.




                                    42
      Case: 25-50130   Document: 98-1    Page: 56   Date Filed: 06/27/2025



     A. Precedent Establishes that Churches are Unincorporated
        Associations Under Texas Law.

     This Court has already addressed the question of whether a church

with members in Texas is an unincorporated association with Texas

citizenship for diversity purposes. Hummel v. Townsend, supra, 883 F.2d

367, held that because the LDS church had members in Texas, it was a

Texas citizen preventing the exercise of diversity jurisdiction. A few years

later, the Court reached a similar conclusion in Elliott v. Tilton, 62 F.3d

725 (5th Cir. 1995). The Court found a church to be an unincorporated

association for diversity purposes. Id. at 728.

     Texas courts have reached the same conclusion. See, e.g., Episcopal

Diocese of Fort Worth v. Episcopal Church, 602 S.W.3d 417, 430 (Tex.

2020) (religious organization made up of member congregations is

unincorporated association). The Texas court specifically held that the

religious organization is subject to, and governed by, the Unincorporated

Associations Act, the very act that LCMS argues does not apply to the

Synod.

     LCMS does not discuss or even cite the two cases from this Court.

It does, however, try to distinguish the state Episcopal Diocese decision.

It argues that the situation is different here, and that the same Act found


                                    43
         Case: 25-50130   Document: 98-1    Page: 57   Date Filed: 06/27/2025



applicable to the religious organization in Episcopal Diocese is

nonetheless inapplicable to the Synod, because the Synod has made “a

choice to be represented in civil disputes by an incorporated entity.”

LCMS Br. 24. Plus, says LCMS, Episcopal Diocese is different because

the case involved a “distinguishable church property dispute”. LCMS Br.

at 43.

     The latter distinction is completely irrelevant. The Texas Supreme

Court’s determination that the religious organization there was an

unincorporated association subject to the Act was not dependent on the

nature of the property dispute. The application of the Unincorporated

Association Act in Episcopal Diocese and in this case is completely

unrelated to the nature of the property dispute. In fact, the merits of the

property dispute in the underlying case are not before this Court because

the district court lacked subject matter jurisdiction.

     Instead, Concordia now addresses the other distinction LCMS

offers: that the Synod must be considered incorporated, and thus outside

the Act, because LCMS is incorporated.




                                       44
      Case: 25-50130      Document: 98-1       Page: 58   Date Filed: 06/27/2025



      B. The Synod and LCMS are Not One and The Same, and
         The Synod is Not Incorporated.

      As a collective association of self-governing congregations, the

Synod falls squarely within the definition of a nonprofit association in the

Unincorporated Associations Act. It is “an unincorporated organization

… consisting of three or more members joined by mutual consent for a

common, nonprofit purpose.” Tex. Bus. Org. Code § 252.001(2). As such,

it may, and does, “hold” real estate, id. § 252.004(a)18, and “may institute

… a judicial … proceeding.” Id. § 252.007(a).

      In other words, the Act explicitly recognizes the separate existence

of the Synod as its own entity, enabled to file a lawsuit involving real

estate it claims to hold. So, Texas law allows the Synod to file the lawsuit

LCMS filed on the Synod’s behalf.

      LCMS improbably argues that the Synod’s creation of LCMS as an

incorporated entity takes the Synod outside the Act’s definition of it as

an organization capable of suing over issues about the rights it claims to

hold in Concordia. The reason LCMS gives for this position is that the

church and its congregations chose “to accomplish their shared goals



18 Similarly, the Synod constitution of 1924 expressly provided Synod power to
“purchase, hold, administer, and sell property of every description in the interests of
the Synod.” ROA.257.

                                          45
      Case: 25-50130     Document: 98-1    Page: 59   Date Filed: 06/27/2025



through LCMS’s corporate form.” LCMS Br. 37. According to LCMS, this

means that the Synod is not a “jural entity distinct from LCMS,” id. 40,

and while there may be a distinction, it is purely “spiritual, not legal.” Id.

41. The Act, precedent, and the events creating LCMS reject this

argument. Regardless of underlying spiritual intentions and objectives,

the Act plainly provides that the Synod is a separate entity, capable of

suing on its own and that the form of that separate entity is as an

unincorporated association. The precedents of this Court and the Texas

Supreme Court compel the same conclusion. And the Synod’s creation of

LCMS likewise belies LCMS’s stubborn assertion that the two entities

are really one entity.

     The constitution of the Synod distinguishes the two entities, stating

that LCMS was “formed by the Synod.” ROA.1276 (Synod Const. Art.

XI.E.2). LCMS even admits this. It asserts that LCMS was “formed by”

the Synod, ROA.1237 (¶16), and that it (LCMS) was “one of the corporate

entities formed by the Synod in convention.” ROA.1238 (¶18).

     Against this backdrop, the district court’s finding that “[t]here is no

evidence that the Synod is incorporated,” ROA.3093, is clearly correct

(and certainly not clearly erroneous). As the district court framed it, the

Synod and LCMS are “not one and the same.” ROA.3308. Incorporation
                                      46
     Case: 25-50130   Document: 98-1     Page: 60   Date Filed: 06/27/2025



of LCMS is not incorporation of the Synod. And since the Synod is not

incorporated, it is an unincorporated association under Texas law, with

Texas citizenship—meaning that there is not complete diversity and the

district court did not have subject matter jurisdiction.

     LCMS cites Evangelical Synod of Mo., Ohio & Other States v.

Hoehn, 196 S.W.2d 134 (Mo. 1946), to support its argument that LCMS

is the Synod. LCMS Br. 37. The case, however, is inapposite. It decided

the question of whether a publishing company that was a corporate

subsidiary of the church was entitled to a tax exemption as a religious

corporation and held that it was not. The decision’s recitation of facts

assumed that the church had been incorporated, but made no decision

about the implications of such incorporation. The decision actually

supports Concordia’s position in this case, because it said that the

Missouri Constitution did not allow a legal corporation to be formed for

the purpose of imparting religious instruction through teaching of a

church’s religious tenets. 196 S.W.2d at 140 (citing Soc’y of Helpers of

Holy Souls v. Law, 186 S.W. 718, 725 (Mo. 1916)). Missouri precedent

clearly establishes that religious organizations maintain their separate

existence when they form nonprofit corporations. “The Catholic Church

at Lexington did not lose its existence or organization in the
                                    47
      Case: 25-50130   Document: 98-1     Page: 61   Date Filed: 06/27/2025



incorporation of the plaintiff by the same name.” Catholic Church v.

Tobbein, 82 Mo. 418, 424 (1884); see also Lilly v. Tobbein, 103 Mo. 477,

488, 15 S.W. 618, 620 (1890) (“It was, however, held in that case, and we

think correctly held, that the church society did not lose its existence, or

become wholly merged in the corporation.”); Soc'y of Helpers of Holy

Souls v. Law, 267 Mo. 667, 680, 186 S.W. 718, 727 (1916) (“And the

attempted incorporation of plaintiff did not destroy the independent and

continued existence of “The Order of Little Helpers” whose name as a

religious society was used as the corporate name of plaintiff.”)

      Under this principle, then, Missouri law says that LCMS cannot be

considered to be the Synod undermining LCMS’s argument that it and

the Synod are of one indivisible piece.

     C. LCMS’s Effort to Buttress its Erroneous Argument that
        the Synod is Not An Unincorporated Association is
        Unavailing.

        1. The Doctrine of              Constitutional        Avoidance       is
           Inapplicable Here.

     LCMS’s invocation of the constitutional avoidance doctrine is

wholly misplaced. It postures the doctrine as a reason for interpreting

the Unincorporated Associations Act favorably toward LCMS. LCMS Br.

43-45. But its substantive argument has nothing to do with statutory


                                    48
      Case: 25-50130   Document: 98-1     Page: 62   Date Filed: 06/27/2025



interpretation. LCMS’s brief on this issue does not identify or cite to any

provision or phrase of the Act whose interpretation needs to be narrowed

to avoid a constitutional problem that would otherwise be present.

Instead, it is merely a rehash of its argument that the district court erred

in determining that LCMS and the church are not the same thing and

the related determination that the record has nothing in it to indicate

that the Synod is incorporated.

     The Act only covers “unincorporated associations” as defined in Tex.

Bus. Org. Code § 252.001(2). The constitutional avoidance doctrine “is not

a license for the judiciary to rewrite [legislative] language.” United States

v. Albertini, 472 U.S. 675, 680 (1985). LCMS makes no effort, even a

contorted one, to explain how rewriting the phrase “unincorporated

associations” could somehow remove the Synod from coverage by the Act.

     LCMS’s position boils down to an argument that the facts of the

case have to be reconfigured to make the Synod a corporation instead of

an unincorporated association that is a Texas resident. That is not

something the doctrine of constitutional avoidance speaks to at all. It

cannot be used to skew a fact finding that the Synod is not a corporation.




                                     49
      Case: 25-50130   Document: 98-1    Page: 63   Date Filed: 06/27/2025



     2.    The Texas Religious Freedom Restoration Act Says
           Nothing About Proper Interpretation of the
           Unincorporated Association Act.

     LCMS’s search for something to take the Synod outside the Act’s

obvious inclusion is far off target when it zeroes in on the Texas Religious

Freedom Restoration Act, Tex. Civ. Prac. & Rem. Code (“TRFRA”). LCMS

Br. 47. TRFRA provides no interpretive guidance, much less directive, for

the Unincorporated Associations Act and requires no analytical

adjustment to the conclusion that the Synod is an unincorporated

association.

     LCMS’s argument on this point only cites a specific provision of

TRFRA once, where it correctly notes that TRFRA applies to the Act

because it applies to “each law” of Texas. See LCMS Br. 45 (citing TRFRA

§ 110.002(c)). However, TRFRA does not say, as LCMS claims, that the

Act “must be interpreted to avoid conflict with [TRFRA’s] requirements

if possible.” And no other provision of TRFRA says this either.

     What TRFRA actually does is provide for certain things a

“government agency” may not do respecting burdening a person’s

religious freedom, see TRFRA §§ 110.003, 110.0031, and authorizes the

person to raise these protections as a defense in a judicial or



                                    50
      Case: 25-50130      Document: 98-1      Page: 64   Date Filed: 06/27/2025



administrative proceeding. 19 Id. § 110.004. A court, be it state or federal,

however, does not come within the statute’s definition of “government

agency.” Id. § 110.001(2). Consequently, TRFRA does not restrain or

control the jurisdiction of this Court, the court below, or even Texas state

courts in their interpretation of whether the Synod is an unincorporated

association. Nor does TRFRA indirectly restrain these judicial bodies by

imposing an interpretive restriction that negates the plain language of

the Act. 20

      3.      The “Internal Affairs Doctrine” Is Inapplicable.

      The internal affairs doctrine has nothing to do with interpreting

whether the Synod comes within the Unincorporated Associations Act.

LCMS’s argument that the doctrine is in “conflict” with the district

court’s application of the Act fares no better than its other two efforts to

artificially constrain the Act’s meaning as applied to the Synod. LCMS

Br. 47-50.


19 Any proposed application of TRFRA in this appeal makes no sense because Synod,

purportedly represented by LCMS, is the plaintiff, not the defendant and TRFRA
cannot be interpreted under any guise to abrogate the constitutional limits of federal
court jurisdiction.
20 For these same reasons, TRFRA does not speak to the church autonomy doctrine

and its application, or not, to the diversity jurisdiction issue at the heart of this
appeal. This is only mentioned here because LCMS’s argument on the interpretation
of the Unincorporated Associations Act also includes discussion about the church
autonomy doctrine. LCMS Br. 45-46.

                                         51
       Case: 25-50130     Document: 98-1       Page: 65   Date Filed: 06/27/2025



       This particular doctrine is directed at trying to cabin one state’s

ability to control the internal affairs of a corporation incorporated in

another state in order to relieve the corporation from facing conflicting

legal demands. Edgar v. MITE Corp., 457 U.S. 624, 645 (1982). It only

applies to “matters peculiar to the relationship among or between the

corporation and its current officers, directors, and shareholders.” Id.; see

also Askanase v. Fatjo, 130 F.3d 657, 670 (5th Cir. 1997) (same). These

internal affairs have to do with the formation and internal relationship

of the corporation and its officers. Tex. Bus. Org. Code § 1.102. It is a

conflict of laws principle as between states, not a jurisdictional principle.

Grynberg v. Grynberg, 535 S.W.3d 229, 233 (Tex.App.—Dallas 2017, no

pet.). 21

       The district court’s conclusion about the Act’s application to the

Synod does not affect LCMS’s internal affairs and relationship among its

officers. It orders LCMS to do nothing. It speaks to the Synod’s role in


21 For the same reasons, the State of Missouri’s amicus brief is wholly irrelevant to

this appeal. Nothing in the district court’s decision attempts to control the internal
affairs of Synod (which is not a corporation and therefore not subject to the internal
affairs doctrine) or LCMS. Furthermore, the various Missouri statutory exemptions
relating to religious corporations are irrelevant to the jurisdictional determination by
the district court. Finally, the district court’s order does not treat religious
organizations any differently than other unincorporated associations. If a non-
religious unincorporated association forms a nonprofit corporation and retains its
independent existence, the same citizenship and jurisdictional analysis would apply.

                                          52
       Case: 25-50130    Document: 98-1      Page: 66   Date Filed: 06/27/2025



this case, not LCMS’s. Inasmuch as they are two separate entities,

LCMS’s internal affairs are not implicated.

       All the district court order determines is that the Synod is a real

party to this controversy and is an unincorporated association with Texas

citizenship. That is by no stretch in conflict with the internal affairs

doctrine and the operations of LCMS.

III.   LCMS’s Rule 19 Argument Is Irrelevant.

       In pages 50-54, LCMS’s brief sets up a false premise to argue that

the district court failed to conduct a required analysis under Rule 19. At

p.53-54, LCMS cites ROA.3320 for the proposition that the district court

improperly granted the motion to dismiss because Synod is an

indispensable party under Rule 19. However, this section of the district

court’s order solely addresses the remand of the removed state court

lawsuit. ROA.3319-3320.22 The remand order is distinct from the

dismissal at issue in this appeal and not subject to appellate review. 28

U.S.C. § 1447(d).




22 LCMS similarly cites ROA.3315 as stating that the court improperly concluded that

Synod is an indispensable party. The cited provision merely posits a question and
does not constitute a conclusion under Rule 17 or Rule 19.

                                        53
     Case: 25-50130   Document: 98-1     Page: 67   Date Filed: 06/27/2025



     The magistrate’s report and recommendation concluded that Synod

holds the substantive rights at issue, that LCMS failed to demonstrate

that it held substantive rights independent of Synod, and recommended

dismissal under Rule 17 for failure to prosecute in the name of the real

party in interest. ROA.3085-3089. Nowhere does the magistrate

recommend dismissal for failure to join an indispensable party under

Rule 19. LCMS did not file any objection to the Rule 17 findings or

recommendations. ROA 3192-3221. Furthermore, there is no objection to

failure to conduct a Rule 19 analysis. Id. Accordingly, except on the

ground of plain error, which is not asserted, an attack on the magistrate’s

findings is barred. Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415,

1428-29 (5th Cir. 1996).

     The district court’s order adopts the recommendation to dismiss

under Rule 17 and does not, as claimed by LCMS, conclude that dismissal

is required under Rule 19. ROA.3315-3318. Accordingly, LCMS’s brief

argues an entirely irrelevant issue. LCMS Br. 50-54.

     The determination that Synod holds the substantive rights and is a

real party to the controversy, and that LCMS does not have rights

independent from Synod, makes it unnecessary to reach Rule 19. Subject

matter jurisdiction is absent entirely aside from a Rule 19 analysis.
                                    54
     Case: 25-50130   Document: 98-1    Page: 68   Date Filed: 06/27/2025



However, to the extent that a Rule 19 analysis may have been relevant,

Synod is clearly an indispensable party. The sole basis for LCMS’s

argument is a rehash of the argument that Synod lacks capacity, which

has been thoroughly addressed above. Because Synod holds the

purported substantive rights at issue and has capacity to participate in

litigation, and because Synod (and LCMS) have access to all requested

remedies in state court, dismissal for failure to join an indispensable

party is undoubtedly necessary. Harrell & Sumner Contracting Co. v.

Peabody Peterson Co., 546 F.2d 1227, 1228-29 (5th Cir. 1977). The case

could not proceed without Synod, which means that complete diversity

would be destroyed.

                            CONCLUSION

     The Court should affirm the district court’s order of dismissal

without prejudice.




                                   55
     Case: 25-50130    Document: 98-1    Page: 69   Date Filed: 06/27/2025



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                      CERTIFICATE OF SERVICE

      Using the appellate CM/ECF system, this document was served on
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Court on the 27th day of June 2025.

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                                    56
     Case: 25-50130   Document: 98-1    Page: 70   Date Filed: 06/27/2025



                 CERTIFICATE OF COMPLIANCE

1.    This brief complies with the type-volume limit of Fed. R. App. P.
32(a)(7)(B)(i) because it contains 11,313 words, excluding the parts
exempted by Fed. R. App. P. 32(f) and 5th Cir. R. 32.1.

2.    This brief complies with the typeface requirements of Fed. R. App.
P. 32(a)(5)(A) and 5th Cir. R. 32.1 and type-style requirements of Fed. R.
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                                   57
